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                                UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA


                                         CRIMINAL MINUTES

Date: April 11, 2022               Time: 10:03 – 10:35               Judge: MAXINE M. CHESNEY
                                           = 32 minutes


Case No.: 18-cr-00465-MMC- Case Name: UNITED STATES v. Fujian Jinhua Integrated Circuit, Co.
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Attorney for Plaintiff: Laura Vartain, Nicholas Hunter, Stephen Marzen
Attorney for Defendant: Jack DiCanio, Emily Reitmeier, Matthew Sloan

 Deputy Clerk: Tracy Geiger                           Court Reporter: Raynee Mercado

                                            PROCEEDINGS

Status Conference – held by Zoom webinar.

Defense counsel informed the Court that their witnesses are unable to travel due to lock-down.

Defense counsel is still waiting for a decision as to whether their witnesses can appear/testify at a U.S.
Embassy in China.

Parties to submit a joint proposal re: scheduling of a Further Status Conference.
